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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

TERRY D. REDMON §
Plaintiff. §
§

Vv. § CIVIL ACTION NO. 4:15-cv-01696
§
STONEBRIDGE LIFE INSURANCE §
COMPANY, §
Defendants. §

PLAINTIFF’S FIRST AMENDED UNOPPOSED MOTION FOR CONTINUANCE
TO THE HONORABLE UNITED STATES DISTRICT COURT:
COMES NOW Plaintiff, Terry D. Redmon, and files this First Amended Unopposed
Motion for Continuance of the Initial Pretrial and Scheduling Conference currently set for December
18, 2015 and in support hereof, shows the Court the following:
I.

This case is currently set for Initial Pretrial and Scheduling Conference on December 18,
2015 beginning at 9:00 a.m.

II.

Plaintiff, Terry D. Redmon seeks a continuance of the Initial Pretrial and Scheduling
Conference in this matter. On or about April 22, 2015 Plaintiff, through his attomey of record,
properly filed an action in the County Court at Law of Walker County, Texas. On or about June 1 35
2015, Defendant, Stonebridge Life Insurance Company, filed its removal arguing complete diversity
between the real parties in interest and that the actual amount in controversy at the time of removal
exceeds $75,000.00 (with costs and interests excluded). On or about J uly 15, 2015, Plaintiff filed his

Motion to Remand Pursuant to 28 U.S.C. § 1446 and 1447. The parties are awaiting the Court’s
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ruling on Plaintiff's Motion to Remand.

Furthermore, Plaintiff's Counsel is involved in a hearing beginning at 10:00 a.m. on
December 18, 2015 in Cause No. D12179 In the Interest of B.K.S., a Child, In the 87 Judicial
District of Leon County, Texas.

For these reasons Plaintiff, Terry D. Redmon seeks additional time.

Il.

This continuance is sought so that justice may be done, and not for purposes of delay.
Plaintiff, Terry D. Redmon requests a continuance of the Initial Pretrial and Scheduling Conference
currently set for December 18, 2015 until such time the Court has made its ruling on Plaintiff's
pending Motion to Remand Pursuant to 28 U.S.C. § 1446 and 1447.

WHEREFORE, PREMISES CONSIDERED, Plaintiff, Terry D. Redmon requests this
Court grant this Motion for Continuance of the Initial Pretrial and Scheduling Conference for this
case which is currently set for December 18, 2015 until such time the Court has made its ruling on
Plaintiff's pending Motion to Remand Pursuant to 28 U.S.C. § 1446 and 1447and that Plaintiff
receive all such other relief to which he is entitled pursuant to this motion.

Respectfully submitted,
CANTRELL, RAY & BARCUS, LLP
By: ~/] G) Ma
Laney Ray
State’Bar No. 24000027

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ATTORNEY FOR PLAINTIFF,
TERRY D. REDMON

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CERTIFICATE OF SERVICE

I certify that a true copy of the above document was filed electronically on the 10" day of
December, 2015. Parties may access this filing through the court’s system. Notice of this filing will
be sent to all parties by operation of the court’s electronic filing system.

Bernie E. Hauder

Adkerson, Hauder & Bezney
1700 Pacific, Suite 4450
Dallas, Texas 75201

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Lanny D. Ray

CERTIFICATE OF CONFERENCE
This will confirm that the undersigned counsel for Plaintiff, Terry Redmon conferred with

counsel for Defendant, Stonebridge Life Insurance Company, about the foregoing motion.
Defendant’s counsel represented that he is uopposed with this Motion.

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Lanny D. Ray
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VERIFICATION

STATE OF TEXAS

CGP 6G? oor

COUNTY OF WALKER

BEFORE ME, the undersigned Notary Public, on this day personally appeared LANNY D.
RAY, who being by me duly sworn on oath deposed and said that the factual assertions contained in

paragraph II are true and correct and that he has personal knowledge of these matters.

Or
(vai Ray =

SUBSCRIBED AND SWORN TO BEFORE ME on this | O° day of De alors, to
certify which witness my hand and seal of office.

i, ROSA SALGADO aca (aDpadeo
“2% Notary Public, State of Texas

 

 

My Commission Expires r ;
February 22, 2018 Notary Public, State of Tekas

 

 

 
